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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiffs,             )
                                            )                  4:05CR3060-2
             V.                             )
                                            )
FERNANDO NUNEZ,                             )
                                            )                      ORDER
                    Defendants.             )

       The defendant has written me a letter. In the letter, he complains in vague terms
about his court appointed lawyer. Having considered the letter,

      IT IS ORDERED that:

      1.     The Clerk of the Court shall file the letter and treat it as a motion for
             appointment of new counsel.

      2.     Treated as a motion for the appointment of new counsel, the letter
             (motion) is denied.

      3.     The Clerk of the Court shall provide the defendant and all counsel of
             record with a copy of the letter and this memorandum and order.

      February 2, 2007.                   BY THE COURT:

                                          S/Richard G. Kopf
                                          United States District Judge
